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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §    CRIMINAL ACTION NO. 4:20-CR-195-
                                                 §               SDJ-KPJ
ULYSSES MENDOZA (1)                              §

                          REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE

         Now before the Court is the request for revocation of Defendant Ulysses Mendoza’s

(“Defendant”) supervised release. After the District Judge referred the matter to this Court for a

report and recommendation, the Court conducted a hearing on September 21, 2021, to determine

whether Defendant violated his supervised release.        Defendant was represented by Frank

Henderson of the Federal Public Defender’s Office. The Government was represented by Camelia

Lopez.

         Defendant was sentenced on August 16, 2018, before The Honorable Jane J. Boyle of the

Northern District of Texas after pleading guilty to the offense of Possession of Stolen U.S. Mail,

a Class D felony. This offense carried a statutory maximum imprisonment term of five years. The

guideline imprisonment range, based on a total offense level of 12 and a criminal history category

of IV, was 21 to 27 months. Defendant was subsequently sentenced to 27 months imprisonment

and two years’ supervised release, subject to the standard conditions of release, plus special

conditions to include drug aftercare, restitution totaling $657.04, and a $100 Assessment. On

May 1, 2020, Defendant completed his period of imprisonment and began service of the

supervision term. On July 21, 2020 jurisdiction in this case was accepted from the Eastern District

of Texas.




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       On August 28, 2020, the United States Probation Officer executed a Petition for Warrant

or Summons for Offender Under Supervision [Dkt. 2, Sealed]. The Petition asserts that Defendant

violated six (6) conditions of supervision, as follows: (1) The defendant must not commit another

federal, state or local crime; (2) The defendant must not unlawfully possess a controlled substance;

(3) The defendant must refrain from any unlawful use of a controlled substance; (4) After initially

reporting to the probation office, the defendant will receive instructions from the court or the

probation officer about how and when you must report to the probation officer, and you must report

to the probation officer as instructed; (5) If you are arrested or questioned by a law enforcement

officer, the defendant must notify the probation officer within 72 hours; and (6) The defendant

must participate in a program of testing and treatment for substance abuse and follow the rules and

regulations of that program until discharged. The probation officer, in consultation with the

treatment provider, will supervise your participation in the program. The defendant must pay any

cost associated with treatment and testing [Dkt. 2 at 1-2, Sealed].

       The Petition alleges that Defendant committed the following acts: (1) On July 1, 2020,

Defendant was arrested by the Plano Police Department for Mail Theft. He has been released on

bond. To date, the case has not been filed by the Collin County District Attorney or the U.S.

Attorney’s Office, ED/TX; (2) (3) On May 8, 2020, Defendant submitted a urine specimen that

tested positive for methamphetamine.            The specimen was confirmed positive for

methamphetamine at the national lab. On June 23, 2020, Defendant submitted a urine specimen

that tested positive for methamphetamine and opiates. The specimen was confirmed positive for

methamphetamine and morphine at the national lab; (4) Defendant failed to submit an online

monthly report as instructed by the probation officer for the months of June, July, and

August 2020; (5) Defendant failed to notify the U.S. Probation Office following his arrest by the



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Plano Police Department for Mail Theft; (6) Defendant failed to initiate substance abuse

counseling at Fletcher Counseling and Associates as directed by the U.S. Probation Officer [Dkt. 2

at 1-2, Sealed].

       Prior to the Government putting on its case, Defendant entered a plea of true to allegation 1

of the Petition. The Government dismissed allegations 2 through 6. Having considered the

Petition and the plea of true to allegation 1, the Court finds that Defendant did violate his

conditions of supervised release.

       Defendant waived his right to allocute before the District Judge and his right to object to

the report and recommendation of this Court [Dkts. 15; 16].

                                        RECOMMENDATION

       Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant’s

supervised release be revoked and that he be committed to the custody of the Bureau of Prisons to

be imprisoned for an additional term of imprisonment of twelve (12) months, to run consecutively

with any term imposed in 4:20-CR-238, with no term of supervised release to follow.

       The Court also recommends that Defendant be housed in the Bureau of Prisons facility in

Texarkana, Texas, if appropriate.


        SIGNED this 1st day of October, 2021.




                                    ___________________________________
                                    Christine A. Nowak
                                    UNITED STATES MAGISTRATE JUDGE




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